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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JANE DOE, A MINOR CHILD BY AND       :
THROUGH HER FATHER AND NEXT          :
FRIEND, JOHN DOE,                    :
                                     :                CIVIL ACTION NO. 5:21-cv-04851-JFL
                       Plaintiff     :
       v.                            :
                                     :
READING RECREATION COMMISSION,:
and DAPHNE E. KLAHR, EXECUTIVE :
DIRECTOR COMMISSION, in her official :
and individual capacities,           :
                                     :
                       Defendants    :                FILED ELECTRONICALLY


                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       The Defendants above named, through counsel, MARSHALL DENNEHEY, hereby move

this Honorable Court for summary judgment and the dismissal of all claims in the Second

Amended Complaint in its entirety and in support thereof states the following.

           1. Summary judgment must be entered in favor of Defendants on all causes of action

brought against them in the above-captioned matter.

           2. First, summary judgment must be granted as to Plaintiffs’ claim pursuant to 42

U.S.C. §1983 against the RCC because the record shows that the RCC is not a state actor for

purposes of Section 1983 liability.

           3. Nonetheless, to the extent that the RCC and Klahr are viewed as state actors,

summary judgment should be granted as to Plaintiffs Monell claims under 42 U.S.C. §1983 against

the RCC and Defendant Daphne Klahr in Counts I and II of the Second Amended Complaint.

           4. Summary Judgment must be entered in favor of Defendants as to these claims

because Plaintiffs have failed to present evidence to establish the existence of a policy, custom
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or practice of the RCC that violated minor Plaintiff’s Constitutional rights, or that there exists a

causal link between the alleged policy, custom or practice and the harm she suffered.

              5. Furthermore, from a fair interpretation of Plaintiffs’ allegations and the record, it

appears that Plaintiffs are also attempting to assert a Monell Claim against Klahr in Count II based

upon a supervisory liability theory.

              6. However, there is no evidence that Klahr was personally involved in any incident,

exhibited any deliberate indifference to the minor Plaintiff’s rights or that she created a policy that

directly caused the constitutional harm to minor Plaintiff.

              7. With respect to Count III, Plaintiffs’ Title IX claim against the RCC, such claim

must be dismissed because the record evidence shows that that the RCC is not a recipient of federal

funding to bring it within the scope of Title IX.

              8. Additionally, Title IX does not apply to the RCC in this matter because the RCC is

not an educational institution as fully supported by the record evidence, in particular, Daphne

Klahr’s deposition testimony, wherein she explicitly testified that the RCC is “not an educational

institution.” See, Exhibit F, pg. 41.

              9. Alternatively, to the extent that the Court determines that the RCC is subject to Title

IX, the record fails to support a claim against the RCC, as there are no facts of record that anyone

at the RRC had any “actual knowledge” of Quigg’s sexual harassment and/or abuse of the minor

Plaintiff.

              10. Furthermore, even assuming, arguendo, that the RCC may have had the actual

knowledge required for damages under Title IX, summary judgment must be granted as to

Plaintiffs’ Title IX claim because the the record is completely devoid of evidence to show that the

RCC acted deliberately indifferent to that knowledge.




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           11. Furthermore, in the event that this Honorable Court views the RCC as a “recipient”

of federal funds and subject to Title IX, Plaintiffs’ request for emotional damages pursuant to Title

IX must be dismissed.

           12. Here, Defendants respectfully request that this Honorable Court rely upon the

rationale employed by the Supreme Court in Cummings v. Premier Rehab Keller, P.L.L.C., 142 S.

Ct. 1562 (2022) to bar Plaintiffs’ recovery of emotional distress damages pursuant to Title IX.

           13. Summary Judgment must also be granted with respect to Plaintiffs’ claims for

negligence in Counts IV and VI, as the record lacks sufficient evidence to establish such claims

against the RCC and Klahr.

           14. For purposes of this motion for summary judgment only, Defendants concede that

Plaintiff, as a minor attending the programs at the RCC, is owed a duty. However, Defendants

deny that the RCC or Klahr breached any duty to Plaintiffs or that any alleged breach proximately

caused minor Plaintiff’s injury. See Kleinknecht, 989 F.2d at 1373; see also Spraggins v. Shields,

456 A.2d 1000, 1001 (Pa. Super. Ct. 1983) (holding that a court should not remove the question

of negligence from the jury “unless the facts leave no room for doubt”).

           15. In consideration of the undisputed facts of the record, there is no doubt that the

RCC and Klahr acted appropriately, and thus did not breach any duty to Plaintiffs or cause minor

Plaintiff’s injuries and thus summary judgment must be granted as to Plaintiffs’ negligence claims

in Counts IV and VI.

           16. Furthermore, although Counts IV and VI of the Second Amended Complaint are

identified as “negligence” claims against the RCC and Klahr, from a closer review of the

allegations in support of these claims, it appears that Plaintiffs are attempting to assert, in part,




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negligent supervision claims against Defendants, which are improperly couched as negligence

claims.

           17. Therefore, in the event that this Honorable Court permits Plaintiffs to pursue their

negligence claims at trial, the Defendants respectfully request that the Court strike and/or dismiss

any purported negligent supervision claims, including any allegations contained in Counts IV and

VI to support such claims.

           18. Plaintiffs in the instant matter have simply failed to establish a record to support a

negligent supervision claim against the RCC or Klahr. See Doe v. Liberatore, 478 F.Supp.2d at

761 (holding that a jury could find that a church negligently retained and supervised a priest where

there was evidence that the priest was “grooming” the minor plaintiff for a sexual relationship); see

also Hutchinson ex rel. Hutchinson v. Luddy, 742 A.2d 1052, 1059 (Pa. 1999) (finding negligent

supervision where an employer knew of the defendant's propensity for pedophilic behavior and of

several specific instances of such conduct”).

           19. Here, the record is devoid of any evidence that Defendants negligently retained

Austin Quigg as he had no prior record of child abuse nor was there any evidence produced to

show that Defendants knew of Quigg’s propensity for pedophilic behavior. For these reasons, any

purported negligent supervision claim must be dismissed prior to trial in this matter.

           20. Similar to the deficiencies with Plaintiffs’ negligence claims, the record is devoid

of any facts to establish a breach of fiduciary duty claim against the RCC or Defendant Klahr in

Counts V and VII of the Second Amended Complaint.

           21. A fiduciary relationship exists between two individuals when one of the persons ‘is

under a duty to act for or to give advice for the benefit of another [person] upon matters within the

scope’ of that relationship.” Anderson v. Abington Heights Sch. Dist., 2017 WL 6327572 at *15




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(M.D. Pa. Dec. 11, 2017), aff'd, 779 F. App'x 904 (3d Cir. 2019) (citing Restatement (Second) of

Torts, § 874 cmt. a (1979)).

           22. Here, the record is devoid of any evidence that the RCC or Klahr abused their

position for personal gain to support a breach of fiduciary duty claim. Instead, the record illustrates

that the RCC’s employees timely addressed any concerns they had with Quigg, suspended him,

and ultimately terminated him. See, Exhibit C, pg. 73-74; see also, Exhibit R.

           23. Furthermore, although it is unclear, its appears from a review of the allegations in

the Second Amended Complaint, that Plaintiffs are attempting assert their fiduciary duty claim

under a theory that the RRC is analogous to an educational setting.

           24. To the extent this Court views the RCC as an “educational setting”, which directly

contradicts the record and Daphne Klahr’s testimony (see, Exhibit F, pg. 41), summary judgment

should still be granted as to the fiduciary duty claim.

           25. In Anderson v. Abington Heights Sch. Dist., 2017 WL 6327572, at *15 (M.D. Pa.

2017), aff'd, 779 F. App'x 904 (3d Cir. 2019) the Middle District discussed a breach of fiduciary

duty claim in educational settings, noting that a plaintiff must establish the following elements in

order to succeed on such claim:

                (1) that the defendant negligently or intentionally failed to act in
               good faith and solely for the benefit of the plaintiff in all matters for
               which he was employed, or negligently or intentionally failed to use
               reasonable care in carrying out his duties; (2) that the plaintiff
               suffered injury; and (3) that the agent's failure to act solely for the
               plaintiff's benefit, or to use the skill and knowledge demanded of
               him by law, was a real factor in bringing about the plaintiff's injuries.
               Pa. S.S.J.I. (Civ.) § 6.210 (2016).

           26. Assuming arguendo, that the RCC is considered an “educational setting” for

purposes of the breach of fiduciary duty claims, there is simply no evidence that the RCC or Klahr

failed to act in good faith or that they negligently or intentionally failed to use reasonable care in



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carrying out their duties, and thus summary judgment must be granted as to Plaintiffs’ breach of

fiduciary duty claims.

           27. Similarly, summary judgment must be granted as to Plaintiffs’ vicarious liability

claim in Count VIII.

           28. Under Pennsylvania law, “an employer is held vicariously liable for the negligent

acts of his employee which cause injuries to a third party, provided that such acts were committed

during the course of and within the scope of the employment.” Vicky M. v. Ne. Educ. Intermediate

Unit 19, 486 F. Supp. 2d 437, 461 (M.D. Pa. 2007), on reconsideration, 2007 WL 2844428 (M.D.

Pa. 2007) citing (Fitzgerald v. McCutcheon, 410 A.2d 1270, 1271 (1979).

           29. Here, because Plaintiffs have failed to produce evidence to establish liability on

the part of Defendant Klahr or any other employees of the RCC, they cannot sustain a vicarious

liability claim against the RCC.

           30. Defendants also request that summary judgment be granted with respect to

Plaintiffs’ request for punitive damages against the RCC and Klahr.

           31. In Pennsylvania, the imposition of punitive damages is an extreme remedy which

is reserved for the most exceptional circumstances. Browne v. Maxfield, 663 F.Supp. 1193 (E.D.

Pa. 1987); Cochetti v. Desmond, 572 F.2d 102 (3d. Cir. 1978); See also Dowhouer v. Judson, 45

D & C.4th 172 (C.P. Dauphin 2000) ("Pennsylvania courts have limited the availability of punitive

damages only to 'punish the rare instances of extreme behavior'''); Phillips v. Cricket Lighters, 883

A.2d 439 (Pa. 2005).

           32. Punitive damages are awarded to punish a defendant for outrageous conduct.

"Outrageous conduct" is described as "acts done with a bad motive or with a reckless indifference




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to the interests of others." Judge Technical Services, Inc. v. Clancy, et al., 813 A.2d 879 (Pa.

Super. Ct. 2002).

            33. Here, Plaintiffs have fallen well short of the standard to warrant punitive damages,

and thus summary judgment should be granted with respect to Plaintiffs’ request for punitive

damages.

            34. Lastly, Defendants assert two arguments in the alternative, to the extent that the

Court disagrees with their position, and views the RCC as a state actor.

            35. In such instant, Defendants maintain that Plaintiffs’ state common law tort claims

against the RCC must be dismissed at the outset pursuant to the Political Subdivision Tort Claims

Act, 42 Pa. C.S. § 8541, et seq.

            36. Similarly, in the event that this Honorable Court recognizes the RCC as a state

actor (which again, the Defendants deny), all claims asserted against Defendant Daphne Klahr, in

her official capacity, must be dismissed as redundant, as well.




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          WHEREFORE, based upon the foregoing and the arguments set forth in the

Memorandum of Law submitted concurrently herewith, Defendants, Reading Recreational

Commission and Daphne E. Klahr, respectfully request this Honorable Court to enter an Order

granting their Motion for Summary Judgment with prejudice.



                                                        RESPECTFULLY SUBMITTED,

                                                        MARSHALL DENNEHEY

                                                  BY:   /s/Sharon M. O'Donnell
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DATE: June 13, 2022                                     smodonnell@mdwcg.com
                                                        Attorneys for Defendants, Reading
                                                        Recreational Commission and
                                                        Daphne E. Klahr




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                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


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FRIEND, JOHN DOE,                    :
                                     :               CIVIL ACTION NO. 5:21-cv-04851-JFL
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       v.                            :
                                     :
READING RECREATION COMMISSION,:
and DAPHNE E. KLAHR, EXECUTIVE :
DIRECTOR COMMISSION, in her official :
and individual capacities,           :
                                     :
                       Defendants    :               FILED ELECTRONICALLY


                         CERTIFICATE OF NON-CONCURRENCE

       I, Sharon M. O'Donnell, hereby certify that I contacted Plaintiffs’ counsel and given the

dispositive nature of this motion, they do not concur in the motion.

                                                            MARSHALL, DENNEHEY


DATE: June 13, 2022                                  BY:    /s/ Sharon M. O’Donnell
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                                CERTIFICATE OF SERVICE

       I, Sharon M. O’Donnell, Esquire hereby certify that a true and correct copy of the foregoing

Motion for Summary Judgment was electronically filed with the Court this date and is available

for viewing and downloading from the ECF System.


                                                            MARSHALL, DENNEHEY

DATE: June 13, 2022                                   BY:   /s/ Sharon M. O’Donnell
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